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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

                                                    )
IN RE:                                              )   Chapter 11
                                                    )
J & M SALES INC., et al.                            )   Case No. 18-11801 (LSS)
                                                    )
                               Debtors.             )
             NOTICE OF APPEARANCE, REQUEST FOR MATRIX ENTRY
           AND REQUEST FOR SERVICE OF ALL NOTICES AND DOCUMENTS
TO:      Clerk of the Court
         United States Bankruptcy Court
         District of Delaware
         824 Market Street
         Wilmington, DE 19801

         Please enter the appearance of Rachel B. Mersky, Esquire of the firm of Monzack
Mersky McLaughlin and Browder, P.A as counsel for Oakwood Plaza Limited Partnership, The
Price REIT, Inc. and Plaza Del Sol 557, LLC (“Kimco Landlords”).              Kimco Landlords are
creditors and, pursuant to the Bankruptcy Rules and Section 1109(b) of the Bankruptcy Code,
hereby request that all notices given or required to be given in these cases be given to and served
upon:
                               Rachel B. Mersky, Esquire
                               MONZACK MERSKY McLAUGHLIN and
                               BROWDER, P.A.
                               1201 N. Orange Street, Suite 400
                               Wilmington, DE 19801
                               Telephone:   (302) 656-8162
                               Facsimile:   (302) 656-2769
                               E-mail:      rmersky@monlaw.com

         Please take further notice that pursuant to Section 1109(b) of the Bankruptcy Code, the

foregoing request includes not only the notices referred to in the Bankruptcy Rules but also

includes, without limitation, notices of any application, motion, petition, pleading, request,

complaint, or demand, whether formal or informal, filed in this Chapter 11 case.


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         This Notice of Appearance and Demand for Notices and Papers shall not be deemed or

construed to be a waiver of Kimco Landlord’s right: (1) to have final orders in noncore matters

entered only after de novo review by a District Judge, (2) to trial by jury in any proceeding so

triable in these cases or any case, controversy, or proceeding related to these cases, (3) to have

the District Court withdraw the reference in any matter subject to mandatory or discretionary

withdrawal, or (4) or any other rights, claims, actions, defenses, setoffs, or recoupments to which

Kimco Landlords are or may be entitled, in law or in equity, all of which Kimco Landlords

expressly reserves.

Dated: August 6, 2018


                                      MONZACK MERSKY McLAUGHLIN
                                      AND BROWDER, P.A.

                                      /s/ Rachel B. Mersky
                                      Rachel B. Mersky, Esquire (DE #2049)
                                      1201 N. Orange Street, Suite 400
                                      Wilmington, DE 19801-1155
                                      Telephone:     (302) 656-8162
                                      Facsimile:     (302) 656-2769
                                      Email:         rmersky@monlaw.com

                                      Attorney for Oakwood Plaza Limited Partnership, The
                                      Price REIT, Inc. and Plaza Del Sol 557, LLC




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